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     Telephone: (702) 386-9529
 4   Attorneys for Defendant Benjamin Galecki
 5                         UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEVADA
 6
                                         **********
 7

 8   UNITED STATES OF AMERICA
                                                 CASE NO. : 2:15-cr-00285-KJD-PAL-2
 9                         Plaintiff,

        vs.                                               EMERGENCY
10                                               UNOPPOSED MOTION FOR WAIVER
11   BENJAMIN GALECKI, et al.                          OF APPEARANCE AT
                                                   ARRAIGNMENT PURSUANT TO
12                         Defendant.              FEDERAL RULE OF CRIMINAL
                                                        PROCEDURE 10(b)
13

14            COMES NOW Defendant BENJAMIN GALECKI by and through CJA counsel

15   and hereby timely files this Emergency Unopposed Motion for Waiver of Appearance
16   at Arraignment Pursuant to Federal Rule of Criminal Procedure 10(b). Good cause
17
     appearing, Defendant Galecki respectfully asks that the Court accept this Waiver
18
     based upon the following:
19

20            1.   On or about August 24, 2016, the Government sought and obtained a

21   Superseding Indictment. Dkt. No. 56.

22            2.   That same day, Counsel for Galecki was advised that the Arraignment
23
     on the Superseding Indictment would occur August 31, 2016 at 3:00 p.m.
24
              3.   On or about August 24, 2016, Counsel advised Galecki of the
25

26   Superseding Indictment, provided him electronically with a copy, and advised him of

27   the date and time set for the Arraignment.

28


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 1          4.     As the Court is aware, Galecki resides in Florida and is released under
 2
     the supervision of Pretrial Services. Galecki is in compliance with the terms of his
 3
     pretrial release bond.
 4
            5.     Galecki has also been charged in the Eastern District of Virginia and
 5

 6   the Southern District of Alabama. Galecki is released under Pretrial Services

 7   supervision in those districts as well.
 8
            6.     Galecki advised counsel that he is scheduled to attend a business
 9
     conference at the time of the Arraignment currently set on the Superseding
10
     Indictment. Additionally, Galecki has advised that costs for flights to Las Vegas on
11

12   short term notice are prohibitive.

13          7.     Federal Rule of Criminal Procedure 10(b) allows Defendants to waive
14   their appearance at arraignments under certain circumstances with the acceptance
15
     of the district court.
16
            8.     On or about August 29, 2016, Counsel spoke with Galecki and
17

18   discussed the contents of the Superseding Indictment. Galecki stated that he is in

19   possession of a copy of the Superseding Indictment and has read same.

20          9.     On or about August 29, 2016, Counsel contacted Government counsel
21
     regarding this Rule 10(b) Waiver and was advised that we may state that the
22
     request is Unopposed.
23

24          10.    In the alternative, Government Counsel is not opposed to continuing

25   the date for the Arraignment for Defendant Galecki. Lastly, Galecki would be willing

26   to accommodate the Court in attending the Arraignment telephonically if so desired.
27
            11.    Defendant’s Galecki’s Counsel will appear at the hearing as scheduled.
28


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                               29th         August




                                         GEORGE FOLEY, JR.
                                         UNITED STATES MAGISTRATE JUDGE
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 1

 2                             CERTIFICATE OF SERVICE
 3
           I hereby certify that on or the 29th day of August, 2016, the above and
 4
     foregoing Emergency Unopposed Motion for Waiver of Appearance at Arraignment
 5
     Pursuant to Federal Rule of Criminal Procedure 10(b) was served via the Court’s
 6

 7   electronic filing system on all counsel registered to this case along with Government

 8   counsel as follows:
 9                BRIAN G. SARDELLI
10                Dept. of Justice
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                  Counsel to the United States of America
19

20
                                           /s/ William H. Gamage
21
                                           __________________________________________
22
                                           EMPLOYEE OF GAMAGE & GAMAGE
23

24

25

26

27

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